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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

 v.                                             Criminal Action No. 2:14-cr-5-2

 BRANDON MICHAEL BEESON,
       Defendant.

                     ORDER/OPINION REGARDING PLEA OF GUILTY

        This matter has been referred to the undersigned Magistrate Judge by the District Court for

 purposes of conducting proceedings pursuant to Federal Rule of Criminal Procedure 11. Defendant,

 Brandon Michael Beeson, in person and by counsel, Brian Kornbrath, appeared before me on July 2,

 2014. The Government appeared by Assistant United States Attorney Stephen Warner. The Court

 determined that Defendant was prepared to enter a conditional plea of “Guilty” to Count Two of the

 Indictment.

        The Court proceeded with the Rule 11 proceeding by first placing Defendant under oath.

        The Court then inquired of Defendant whether he was a citizen of the United States. Defendant

 responded that he is a citizen. The undersigned asked Defendant whether he understood that if he were

 not a citizen of the United States, by pleading guilty to a felony charge he would be subject to

 deportation at the conclusion of any sentence; that he would be denied future entry into the United

 States; and that he would be denied citizenship if he ever applied for it. Defendant stated that he

 understood.

        The Court determined that Defendant’s plea was pursuant to a written plea agreement, and

 asked the Government to tender the original to the Court. The Court asked counsel for the

 Government if the agreement was the sole agreement offered to Defendant. The Government

 responded that it was and counsel for Defendant confirmed the same. The Court asked counsel for the

 Government to summarize the written Plea Agreement. Defendant stated that the agreement as
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 summarized by counsel for the Government was correct and complied with his understanding of the

 agreement. The Court ORDERED the written Plea Agreement filed.

        The Court next inquired of Defendant concerning his understanding of his right to have an

 Article III Judge hear the entry of his guilty plea and his understanding of the difference between an

 Article III Judge and a Magistrate Judge. Defendant thereafter stated in open court that he voluntarily

 waived his right to have an Article III Judge hear and accept his plea and voluntarily consented to the

 undersigned Magistrate Judge hearing and accepting his plea, and tendered to the Court a written

 Waiver of Article III Judge and Consent To Enter Guilty Plea Before Magistrate Judge, which waiver

 and consent was signed by Defendant and countersigned by Defendant’s counsel and was concurred

 in by the signature of the Assistant United States Attorney appearing.

        Upon consideration of the sworn testimony of Defendant, as well as the representations of his

 counsel and the representations of the Government, the Court finds that the oral and written waiver

 of Article III Judge and consent to enter guilty plea before a Magistrate Judge was freely and

 voluntarily given and the written waiver and consent was freely and voluntarily executed by

 Defendant, James Allen Ware, only after having had his rights fully explained to him and having a full

 understanding of those rights through consultation with his counsel, as well as through questioning by

 the Court. The Court ORDERED the written Waiver and Consent to Enter Guilty Plea before a

 Magistrate Judge filed and made part of the record.

        The undersigned then reviewed with Defendant Count Two of the Indictment and the elements

 the Government would have to prove, charging him with aiding and abetting the possession of material

 used in the manufacture of methamphetamine, in violation of 21 U.S.C. §§ 843(a)(6), 843(d)(2), and

 18 U.S.C. § 2. The undersigned then reviewed with Defendant the statutory penalties applicable to

 an individual adjudicated guilty of the felony charges contained in Count Two of the Indictment, the

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 impact of the sentencing guidelines on sentencing in general, and inquired of Defendant as to his

 competency to proceed with the plea hearing. From said review the undersigned Magistrate Judge

 determined Defendant understood the nature of the charges pending against him and understood the

 possible statutory maximum sentence which could be imposed upon his conviction or adjudication of

 guilty on Count Two was imprisonment for a term of not more than ten (10) years; understood that a

 fine of not more than $250,000.00 could be imposed; understood that both fine and imprisonment

 could be imposed; understood he would be subject to a period of at least three (3) years of supervised

 release; and understood the Court would impose a special mandatory assessment of $100.00 for the

 felony conviction payable on or before the date of sentencing. Defendant also understood that his

 sentence could be increased if he had a prior firearm offense, violent felony conviction, or prior drug

 conviction. He also understood he might be required by the Court to pay the costs of his incarceration

 and supervised release.

        The undersigned also reviewed with Defendant his waiver of appellate rights as follows:

 Ct:    Did you and Mr. Kornbrath discuss that you have a right to appeal your conviction and

        sentence to the Fourth Circuit Court of Appeals?

 Def.   Yes, yes, Your Honor, we did.

 Ct.    Did you understand that you may also collaterally attack or challenge the sentence by filing

        what is commonly called a writ of habeas corpus motion under 28 U.S.C. § 2255?

 Def.   Yes, Your Honor, we spoke about it.

 Ct.    Did you understand that under paragraph 13 of your plea agreement, excluding your right to

        appeal the District Judge’s decision not suppressing the evidence . . .




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 Def.   Yea, I understand that, I was under the understanding that if my Guidelines were below 23 or

        lower, if I had hit that on the Guidelines table, at that time I would not be allowed to appeal

        or couldn’t appeal it if it was lower than that.

 Ct.    So your actual sentence, as you understood it, if it’s based on a total offense level of 23 or

        lower, then you give up your right to appeal that sentence and you give up your right to

        collaterally attack it by filing a writ of habeas corpus motion?

 Def.   Um, yes, I believe that.

 Ct.    That’s your understanding of it?

 Def.   Yes, Your Honor.

 Ct.    And the only thing you’ve reserved whether it’s 23 or lower that you can appeal, even if your

        sentence is 23 or lower, is that suppression motion. You understood you could always appeal

        that, couldn’t you?

 Def.   Um, no, actually, I didn’t understand that. I thought that if it was at 23 or lower I couldn’t

        appeal that at all.

 Ct.    Well, actually, the way I read it and the way I understand it, you can appeal your suppression

        motion no matter what your sentence is. It’s only on other grounds than the suppression

        motion that you cannot appeal if your actual sentence is the equivalent of a Guidelines sentence

        with a total offense level of 23 or lower. Is that now your understanding?

 Def.   Yes, Your Honor.

 Ct.    Do you need any time to talk that over with Mr. Kornbrath to get that clear in your head?

 Def.   Yes, just a moment.

 Ct.    Absolutely.

 [Defendant talking with counsel]

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 Def.   I understand.

 Ct.     I’m going to ask you again. Under your plea agreement, do you keep your right to appeal the

         judge’s denial of the suppression motion no matter what your sentence is?

 Def.   Yes, Your Honor, I do.

 Ct.     Under your plea agreement, for any other ground other than appealing the suppression, do you

         give up those other grounds if your actual sentence is equal to or the same as a Guidelines

         sentence with a total offense level of 23 or lower?

 Def.   Yes, I understand that now.

 Ct.     You give up those other rights?

 Def.   Yes, Your Honor.

 Ct.     And you do that voluntarily and knowingly and intelligently, sir?

 Def.   Yes, Your Honor, I do.

         From the foregoing colloquy the undersigned determined that Defendant understood his

 appellate rights and knowingly gave up those rights pursuant to the conditions contained in the written

 plea agreement.

         The undersigned Magistrate Judge further examined Defendant relative to his knowledgeable

 and voluntary execution of the written plea bargain agreement, and determined the entry into said

 written plea bargain agreement was both knowledgeable and voluntary on the part of Defendant. The

 undersigned then inquired of Defendant regarding his understanding of the written plea agreement.

 Defendant stated he understood the terms of the written plea agreement and also stated that it contained

 the whole of his agreement with the Government and no promises or representations were made to him

 by the Government other than those terms contained in the written plea agreement.




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         The undersigned Magistrate Judge further inquired of Defendant, his counsel, and the

 Government as to the non-binding recommendations and stipulation contained in the written plea

 bargain agreement and determined that Defendant understood, with respect to the plea bargain

 agreement and to Defendant’s entry of a plea of guilty to the felony charge contained in Count Two

 of the Indictment, the undersigned Magistrate Judge would write the subject Order and would further

 order a pre-sentence investigation report be prepared by the probation officer attending the District

 Court. The undersigned advised the Defendant that the District Judge would adjudicate the Defendant

 guilty of the felony charged under Count Two of the Indictment. Only after the District Court had an

 opportunity to review the pre-sentence investigation report, would the District Court make a

 determination as to whether to accept or reject any recommendation or stipulation contained within

 the plea agreement or pre-sentence report. The undersigned reiterated to the Defendant that the District

 Judge may not agree with the recommendations or stipulation contained in the written agreement. The

 undersigned Magistrate Judge further advised Defendant, in accord with Federal Rule of Criminal

 Procedure 11, that in the event the District Court Judge refused to follow the non-binding

 recommendations or stipulation contained in the written plea agreement and/or sentenced him to a

 sentence which was different from that which he expected, he would not be permitted to withdraw his

 guilty plea. Defendant and his counsel each acknowledged their understanding and Defendant

 maintained his desire to have his plea of guilty accepted.

         Defendant also understood that his actual sentence could not be calculated until after a pre-

 sentence report was prepared and a sentencing hearing conducted. The undersigned also advised, and

 Defendant stated that he understood, that the Sentencing Guidelines are no longer mandatory, and that,

 even if the District Judge did not follow the Sentencing Guidelines or sentenced him to a higher

 sentence than he expected, he would not have a right to withdraw his guilty plea. Defendant further

 stated his attorney showed him how the advisory guideline chart worked but did not promise him any

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 specific sentence at the time of sentencing. Defendant stated that he understood his attorney could not

 predict or promise him what actual sentence he would receive from the sentencing judge at the

 sentencing hearing. Defendant further understood there was no parole in the federal system, although

 he may be able to earn institutional good time, and that good time was not controlled by the Court, but

 by the Federal Bureau of Prisons.

         The Court would generally hear the testimony of a Government witness at this point in the

 hearing to support an independent basis in fact for the guilty plea. In this case, the parties agreed that

 the Government would provide a proffer to provide that independent basis in fact. The Government

 proffered that on March 11, 2013, deputies from the Randolph County Sheriff’s Department conducted

 a traffic stop of a vehicle on Ward Road, in Randolph County, West Virginia, within the Northern

 District of West Virginia. Three individuals, including Defendant, were in the vehicle. After

 conducting a search of the vehicle, the deputies located the materials named in Count Two of the

 Indictment. Those materials are commonly used to manufacture methamphetamine. One co-defendant

 indicated that they had been headed to Rich Mountain to manufacture methamphetamine.

         Defendant stated he heard, understood, and did not disagree with the Government’s proffer.

 The undersigned United States Magistrate Judge concludes the offense charged in Count Two of the

 Indictment are supported by an independent basis in fact concerning each of the essential elements of

 such offense. That independent basis is provided by the Government’s proffer.

         Thereupon, Defendant, Brandon Michael Beeson, with the consent of his counsel, Brian

 Kornbrath, proceeded to enter a verbal plea of GUILTY to the felony charge in Count Two of the

 Indictment.

         Upon consideration of all of the above, the undersigned Magistrate Judge finds that Defendant

 is fully competent and capable of entering an informed plea; Defendant is aware of and understood his

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 right to have an Article III Judge hear and accept his plea and elected to voluntarily consent to the

 undersigned United States Magistrate Judge hearing and accepting his plea; Defendant understood the

 charges against him, not only as to the Indictment as a whole, but in particular as to Count Two of the

 Indictment; Defendant understood the consequences of his plea of guilty, in particular the maximum

 statutory penalty to which he would be exposed for Count Two; Defendant made a knowing and

 voluntary plea of guilty to Count Two of the Indictment; and Defendant’s plea is independently

 supported by the Government’s proffer which provides, beyond a reasonable doubt, proof of each of

 the essential elements of the charges to which Defendant has pled guilty.

        The undersigned Magistrate Judge therefore ACCEPTS Defendant’s plea of guilty to Count

 Two of the Indictment and recommends he be adjudged guilty on said charges as contained in Count

 Two of the Indictment and have sentence imposed accordingly.

        The undersigned further directs that a pre-sentence investigation report be prepared by the adult

 probation officer assigned to this case.

        Defendant is remanded to the custody of the State of West Virginia pending further

 proceedings in this matter.

        The Clerk of the Court is directed to send a copy of this Order/Opinion to counsel of record.

        DATED: July 2, 2014
                                                        John S. Kaull
                                                        JOHN S. KAULL
                                                        UNITED STATES MAGISTRATE JUDGE




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